25 F.3d 1039NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Cecil FLETCHER, Petitioner,v.NATIONAL ENERGY CORPORATION;  Director, Office of Workers'Compensation Programs, United States Department ofLabor, Respondents.
    93-1345.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 26, 1994.Decided May 18, 1994.
    
      On Petition for Review of an Order of the Benefits Review Board.  (90-1749-BLA)
      Cecil Fletcher, Petitioner Pro Se.
      Harry Ashby Dickerson, Penn, Stuart, Eskridge &amp; JONES, Abingdon, Virginia;  Barbara J. Johnson, Rodger Pitcairn, United States Department of Labor, Washington, D.C., for Respondents.
      Ben. Rev. Bd.
      AFFIRMED.
      Before MURNAGHAN and NIEMEYER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Petitioner seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1993).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Fletcher v. National Energy Corp., No. 90-1749-BLA (Feb. 22, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    